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                                                                         FILED
                       UNITED STATES DISTRICT COURT                January 30, 2019
                      EASTERN DISTRICT OF CALIFORNIA              CLERK, US DSITRICT COURT
                                                                    EASTERN DISTRICT OF
                                                                         CALIFORNIA


UNITED STATES OF AMERICA,                      Case No. 2:17-cr-00060-MCE-01

                Plaintiff,

       v.                                           ORDER FOR RELEASE OF
                                                     PERSON IN CUSTODY
PAMELA STEPHANIE EMANUEL

                Defendant.

TO:    UNITED STATES MARSHAL:

       This is to authorize and direct you to release PAMELA STEPHANIE

EMANUEL

Case No. 2:17-cr-00060-MCE-01 Charge 18 USC § 1349 from custody for the

following reasons:

                      Release on Personal Recognizance

                      Bail Posted in the Sum of $

                             Unsecured Appearance Bond $

                             Appearance Bond with 10% Deposit

                             Appearance Bond with Surety

                             Corporate Surety Bail Bond

                             (Other): Defendant to be temporarily released on

                             2/6/2019 at 8:00 AM and is to surrender herself to

                             Sacramento County Jail by 8:00 PM that same day.

       Issued at Sacramento, California on January 30, 2019 at 4:00 PM.

                                   By:
